 7:18-cv-00568-TMC          Date Filed 06/08/18      Entry Number 21         Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                  SPARTANBURG DIVISION


Jennifer Gordon,
                                       Plaintiff, Civil Action No. 7:18-cv-00568-TMC

                      vs.

Charter Communications, Inc. d/b/a Spectrum,
                                      Defendant.



  NOTICE OF SETTLEMENT AND REQUEST TO ENTER RUBIN ORDER AS

          TO CHARTER COMMUNICATIONS, INC. D/B/A SPECTRUM

       Plaintiff Jennifer Gordon and Defendant Charter Communications, Inc. d/b/a

  Spectrum, have agreed to settle the above entitled action. Plaintiff Jennifer Gordon

  requests that the Court enter a Rubin Order to allow time to consummate the

  agreement. The parties will reinstate the action within sixty (60) days if the

  settlement is not consummated.

                                        DAVE MAXFIELD, ATTORNEY, LLC


                                By:     _s/ Dave Maxfield__________
                                        David A. Maxfield, Fed. ID 6293
                                        P.O. Box 11865
                                        Columbia, SC 29211
                                        803-509-6800
                                        855-299-1656 (fax)
                                        dave@consumerlawsc.com
                                        Counsel for Plaintiff


DATED: June 7, 2018

Columbia, South Carolina
